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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA


 THERESA CRISPINO,                          Case No.: 8:23-cv-996

        Plaintiff,

 v.

 SYNCHRONY FINANCIAL D/B/A
 SYNCHRONY BANK, and
 MONARCH RECOVERY
 MANAGEMENT, INC.,

        Defendants.


      ANSWER TO PLAINTIFF’S COMPLAINT WITH AFFIRMATIVE
       DEFENSES BY DEFENDANT, MONARCH RECOVERY, INC.

       Defendant, Monarch Recovery Management, Inc. (hereinafter “Monarch”)

by and through its undersigned counsel, and hereby submits the following Answer

to Plaintiff, Theresa Crispino’s (hereinafter “Plaintiff”) Complaint with Affirmative

Defenses, stating as follows:

                         JURISDICTION AND VENUE

       1.     Denied. The allegations in this paragraph call for conclusions of law

and are denied as such. Monarch refers all questions of law to the Court.

       2.     Admitted in part and denied in part. Monarch admits that the conduct

of Monarch complained of by Plaintiff occurred in this District. Monarch denies

that it transacts business in this District as it only does so through the means of

interstate commerce. Monarch is without sufficient knowledge, information or
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belief regarding whether or not Plaintiff resided in this District at all times relevant

to the claims in Plaintiff’s Complaint and, therefore, Monarch denies this

allegation. To the extent that the allegations in this paragraph are directed to a

party other than Monarch, Monarch denies these allegations. Monarch denies the

remaining allegations in this paragraph and leaves Plaintiff to her burden of proof.

                                      PARTIES

      3.     Admitted in part and denied in part.            Monarch admits, upon

information and belief, that Plaintiff is a natural person. Monarch is without

sufficient knowledge, information or belief regarding whether Plaintiff resided in

Pasco County, Florida at all times relevant to the claims in her Complaint and,

therefore, Monarch denies this allegation.         Monarch denies the remaining

allegations in this paragraph and leaves Plaintiff to her burden of proof.

      4.     Denied. Monarch is without sufficient knowledge, information or

belief regarding the allegations in this paragraph and, therefore, Monarch denies

these allegations. To the extent that the allegations in this paragraph are directed

to a party other than Monarch, no response to the allegations in this paragraph is

required of Monarch.

      5.     Admitted. Monarch admits that it is a Pennsylvania corporation with

a principal place of business located in Bensalem, Pennsylvania.




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                         DEMAND FOR JURY TRIAL

      6.     Admitted in part and denied in part. Monarch admits that Plaintiff

demands a trial by jury on all counts and issues so triable. Monarch denies that

Plaintiff is entitled to a trial by jury absent a showing of violative conduct on the

part of Monarch.

                                 ALLEGATIONS

      7.     Admitted in part and denied in part. Monarch admits that on August

29, 2022 Monarch began attempting to collect a debt owed by Plaintiff to

Synchrony Bank regarding a PayPal MasterCard account. To the extent that the

allegations in this paragraph are directed to a party other than Monarch, Monarch

denies these allegations.    Monarch denies the remaining allegations in this

paragraph and leaves Plaintiff to her burden of proof.

      8.     Admitted.    Monarch admits, upon information and belief, that

Plaintiff owes a debt that was incurred to Synchrony Bank regarding a PayPal

MasterCard account. Monarch denies the remaining allegations in this paragraph

and leaves Plaintiff to her burden of proof.

      9.     Denied. Monarch is without sufficient knowledge, information or

belief regarding whether Plaintiff’s Synchrony Bank PayPal MasterCard debt was

incurred for personal, family or household purposes and, therefore, Monarch

denies these allegations and leaves Plaintiff to her burden of proof.




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      10.    Admitted in part and denied in part.          Monarch admits, upon

informaiton and belief, that Plaintiff’s Synchrony Bank PayPal MasterCard

account has an account number ending in 6180. Monarch is without sufficient

knowledge, information or belief regarding the remaining allegations in this

paragraph and, therefore, Monarch denies these allegations and leaves Plaintiff to

her burden of proof.

      11.    Denied. The allegations in this paragraph call for conclusions of law

and are denied as such. Monarch refers all questions of law to the Court.

      12.    Denied. The allegations in this paragraph call for conclusions of law

and are denied as such. Monarch refers all questions of law to the Court.

      13.    Denied. Monarch is without sufficient knowledge, information or

belief regarding the allegations in this paragraph and, therefore, Monarch denies

these allegations and leaves Plaintiff to his burden of proof. To the extent that the

allegations in this paragraph are directed to a party other than Monarch, Monarch

denies these allegations.

      14.    Denied. Monarch is without sufficient knowledge, information or

belief regarding the allegations in this paragraph and, therefore, Monarch denies

these allegations and leaves Plaintiff to her burden of proof. To the extent that the

allegations in this paragraph are directed to a party other than Monarch, Monarch

denies these allegations.




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      15.    Denied. Monarch is without sufficient knowledge, information or

belief regarding the truth or veracity of the document attached to Plaintiff’s

Complaint as Exhibit “A” and, therefore, Monarch denies the allegations in this

paragraph and leaves Plaintiff to her burden of proof.

      16.    Denied. Monarch denies the allegations in this paragraph and leaves

Plaintiff to her burden of proof. To the extent that the allegations in this paragraph

are directed to a party other than Monarch, Monarch denies these allegations.

      17.    Denied. Monarch denies the allegations in this paragraph as it was

not aware that Plaintiff was represented by an attorney during the time period

when it attempted to collect Plaintiff’s Synchrony Bank PayPal MasterCard debt.

To the extent that the allegations in this paragraph are directed to a party other

than Monarch, Monarch denies these allegations. Monarch denies the remaining

allegations in this paragraph and leaves Plaintiff to her burden of proof.

      18.    Denied. Monarch denies the allegations in this paragraph and leaves

Plaintiff to her burden of proof. To the extent that the allegations in this paragraph

are directed to a party other than Monarch, Monarch denies these allegations.

      19.    Denied. Monarch denies the allegations in this paragraph as it was

not aware that Plaintiff was represented by an attorney during the time period

when it attempted to collect Plaintiff’s Synchrony Bank PayPal MasterCard debt.

To the extent that the allegations in this paragraph are directed to a party other




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than Monarch, Monarch denies these allegations. Monarch denies the remaining

allegations in this paragraph and leaves Plaintiff to her burden of proof.

      20.    Denied. Monarch denies the allegations in this paragraph as it was

not aware that Plaintiff was represented by an attorney during the time period

when it attempted to collect Plaintiff’s Synchrony Bank PayPal MasterCard debt.

To the extent that the allegations in this paragraph are directed to a party other

than Monarch, Monarch denies these allegations. Monarch denies the remaining

allegations in this paragraph and leaves Plaintiff to her burden of proof.

      21.    Denied. Monarch denies the allegations in this paragraph and leaves

Plaintiff to her burden of proof. To the extent that the allegations in this paragraph

are directed to a party other than Monarch, Monarch denies these allegations.

      22.    Denied. Monarch denies the allegations in this paragraph and leaves

Plaintiff to her burden of proof. To the extent that the allegations in this paragraph

are directed to a party other than Monarch, Monarch denies these allegations.

      23.    Admitted. Monarch admits that on August 29, 2022 Monarch began

attempting to collect a debt owed by Plaintiff to Synchrony Bank regarding a

PayPal MasterCard account.

      24.    Admitted in part and denied in part. Monarch admits that, at times,

it engages in the business of attempting to collect debt obligations owed by others

to third parties. Monarch is without sufficient knowledge, information or belief

regarding the status of each debt that it attempts to collect as being “consumer”



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debts and, therefore, Monarch denies this allegation.        Monarch denies the

remaining allegations in this paragraph and leaves Plaintiff to her burden of proof.

      25.    Admitted in part and denied in part. Monarch admits that, at times,

it engages in the business of attempting to collect debt obligations owed by others

to third parties. Monarch is without sufficient knowledge, information or belief

regarding the status of each debt that it attempts to collect as being “consumer”

debts and, therefore, Monarch denies this allegation.        Monarch denies the

remaining allegations in this paragraph and leaves Plaintiff to her burden of proof.

      26.    Admitted in part and denied in part. Monarch admits that, at times,

it engages in the business of attempting to collect debt obligations owed by others

to third parties. Monarch denies the remaining allegations in this paragraph and

leaves Plaintiff to her burden of proof.

      27.    Admitted in part and denied in part. Monarch admits that it is

registered with the Florida Office of Financial Regulation. Monarch denies the

remaining allegations in this paragraph and leaves Plaintiff to her burden of proof.

      28.    Admitted.    Monarch admits that its Consumer Collection Agency

license number is CCA0900541.

      29.    Admitted. Monarch admits that it maintains all records specified in

Rule 69V-180.080, Florida Administrative Code.

      30.    Admitted. Monarch denies the allegations in this paragraph as the

term “current date” is undefined.



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      31.    Admitted. Monarch admits that for its license to remain valid it must

comply with the Florida Administrative Code.

      32.    Denied. The allegations in this paragraph call for conclusions of law

and are denied as such. Monarch refers all questions of law to the Court.

      33.    Denied. The allegations in this paragraph call for conclusions of law

and are denied as such. Monarch refers all questions of law to the Court.

      34.    Admitted in part and denied in part. Monarch admits that it sent

Plaintiff a letter dated August 29, 2022 in an attempt to collect a debt owed by

Plaintiff to Synchrony Bank regarding a PayPal MasterCard account. Monarch

denies that it had any knowledge that Plaintiff was represented by an attorney with

respect to her debt during the time period when it attempted to collect Plaintiff’s

debt. Monarch is without sufficient knowledge, informaiton or belief regarding

whether Plaintiff’s debt was a consumer debt and, therefore, Monarch denies this

allegation. Monarch denies the remaining allegations in this paragraph and leaves

Plaintiff to her burden of proof.

      35.    Admitted.    Monarch admits that Plaintiff appended a copy of its

August 29, 2022 letter to her Complaint as Exhibit “B.”

      36.    Denied. The allegations in this paragraph call for conclusions of law

and are denied as such. Monarch refers all questions of law to the Court. To the

extent that the allegations in this paragraph are directed to a party other than

Monarch, Monarch denies these allegations.



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      37.     Denied. The allegations in this paragraph are directed to a party other

than Monarch whereby no response to the allegations in this paragraph is required

of Monarch.

      38.     Admitted in part and denied in part. Monarch admits that its August

29, 2022 letter was sent in connection with the collection of Plaintiff’s Synchrony

Bank PayPal MasterCard account. Monarch is without sufficient knowledge,

information or belief regarding whether Plaintiff’s debt was a consumer debt and,

therefore, Monarch denies this allegation. To the extent that the allegations in this

paragraph call for conclusions of law, Monarch denies these allegations as it refers

all questions of law to the Court. Monarch denies the remaining allegations in this

paragraph and leaves Plaintiff to his burden of proof.

      39.     Denied. The allegations in this paragraph are directed to a party other

than Monarch whereby no response to the allegations in this paragraph is required

of Monarch.

      40.     Admitted. Monarch admits that its August 29, 2022 letter was an

action by Monarch to attempt to collect Plaintiff’s Synchrony Bank PayPal

MasterCard account.

      41.     Denied. Monarch denies the incomplete allegations in this paragraph

and leaves Plaintiff to her burden of proof. By way of further response, Monarch

is without sufficient knowledge, information or belief regarding whether or not




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Plaintiff’s Synchrony Bank PayPal MasterCard debt is consumer debt and,

therefore, Monarch denies this allegation.

      42.    Denied. Monarch is without sufficient knowledge, informaiton or

belief regarding whether Plaintiff received its August 29, 2022 letter regarding her

Synchrony Bank PayPal MasterCard account and, therefore, Monarch denies this

allegation. Monarch denies the remaining allegations in this paragraph and leaves

Plaintiff to her burden of proof.

      43.    Denied. Monarch denies that it had any knowledge at any time that

Plaintiff was represented by an attorney.         Monarch denies the remaining

conclusory allegations in this paragraph and leaves Plaintiff to her burden of proof.

To the extent that the allegations in this paragraph are directed to a party other

than Monarch, Monarch denies the allegations.

      44.    Denied. Monarch denies that it had any knowledge at any time that

Plaintiff was represented by an attorney.         Monarch denies the remaining

conclusory allegations in this paragraph and leaves Plaintiff to her burden of proof.

To the extent that the allegations in this paragraph are directed to a party other

than Monarch, Monarch denies the allegations.

      45.    Denied. Monarch is without sufficient knowledge, informaiton or

belief regarding whether Plaintiff’s Synchrony Bank PayPal MasterCard debt was

a consumer debt and, therefore, Monarch denies this allegation. Monarch denies

that it had any knowledge that Plaintiff was represented by an attorney during the



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time period when it attempted to collect Plaintiff’s debt. Monarch denies the

remaining allegations in this paragraph and leaves Plaintiff to her burden of proof.

         46.   Admitted in part and denied in part. Monarch admits that its August

29, 2022 letter stated that the creditor was Synchrony Bank and that the amount

of the owed debt was $3001.13.         Monarch is without sufficient knowledge,

informaiton or belief regarding whether Plaintiff’s Synchrony Bank PayPal

MasterCard debt was a consumer debt and, therefore, Monarch denies this

allegation. To the extent that the allegations in this paragraph are directed to a

party other than Monarch, Monarch denies the allegations. The letter referenced

in this paragraph is a writing, the content of which speaks for itself, and any

characterization of the content of said letter is specifically denied by Monarch.

Monarch denies the remaining allegations in this paragraph and leaves Plaintiff to

her burden of proof.

         47.   Denied. Monarch denies that it was aware that Plaintiff disputed her

Synchrony Bank PayPal MasterCard debt during the time period when it attempted

to collect the debt. Monarch is without sufficient knowledge, informaiton or belief

regarding whether Plaintiff’s Synchrony Bank PayPal MasterCard debt was a

consumer debt and, therefore, Monarch denies this allegation. Monarch denies

the remaining allegations in this paragraph and leaves Plaintiff to her burden of

proof.




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                                Count 1
                 VIOLATION OF FLA. STAT. § 559.72(18)
                     (against Defendant-Creditor)

      48.    Admitted in part and denied in part. Monarch admits that Plaintiff

merely incorporates by reference paragraphs 7 through 47 of her Complaint in this

paragraph. To the extent that a response to the allegations in this paragraph is

required of Monarch, Monarch denies the allegations in this paragraph.

      49.    Denied. The allegations in this paragraph call for conclusions of law

and are denied as such. Monarch reserves all questions of law to the Court.

      50.    Denied. The allegations in this paragraph are directed to a party other

than Monarch whereby no response to the allegations in this paragraph is required

of Monarch. To the extent that a response to the allegations in this paragraph is

required of Monarch, Monarch denies the allegations in this paragraph and leaves

Plaintiff to her burden of proof.

      51.    Denied. The allegations in this paragraph are directed to a party other

than Monarch whereby no response to the allegations in this paragraph is required

of Monarch. To the extent that a response to the allegations in this paragraph is

required of Monarch, Monarch denies the allegations in this paragraph and leaves

Plaintiff to her burden of proof.

      52.    Denied. The allegations in this paragraph are directed to a party other

than Monarch whereby no response to the allegations in this paragraph is required

of Monarch. To the extent that a response to the allegations in this paragraph is



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required of Monarch, Monarch denies the allegations in this paragraph and leaves

Plaintiff to her burden of proof.

                                  Count 2
                   VIOLATION OF FLA. STAT. § 559.72(6)
                       (against Defendant-Creditor)

      53.    Admitted in part and denied in part. Monarch admits that Plaintiff

merely incorporates by reference paragraphs 7 through 52 of her Complaint in this

paragraph. To the extent that a response to the allegations in this paragraph is

required of Monarch, Monarch denies the allegations in this paragraph.

      54.    Denied. The allegations in this paragraph call for conclusions of law

and are denied as such. Monarch reserves all questions of law to the Court.

      55.    Admitted in part and denied in part. Monarch admits that it was not

notified by Synchrony Bank or any other entity or person during the time period

that it attempted to collect Plaintiff’s Synchrony Bank PayPal MasterCard debt that

Plaintiff disputed the validity of her debt.      Monarch is without sufficient

knowledge, informaiton or belief regarding whether Plaintiff’s debt was a

consumer debt and, therefore, Monarch denies this allegation. To the extent that

allegations in this paragraph are directed to a party other than Monarch, no

response to those allegations in this paragraph is required of Monarch. Monarch

denies the remaining allegations in this paragraph and leaves Plaintiff to her

burden of proof.




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      56.     Denied. The allegations in this paragraph are directed to a party

other than Monarch whereby no response to the allegations in this paragraph is

required of Monarch. To the extent that a response to the allegations in this

paragraph is required of Monarch, Monarch denies the allegations in this

paragraph and leaves Plaintiff to her burden of proof.

                                Count 3
                   VIOLATION OF 15 U.S.C. § 1692c(a)(2)
                        (against Defendant-DC)

      57.    Admitted in part and denied in part. Monarch admits that Plaintiff

merely incorporates by reference paragraphs 7 through 56 of her Complaint in this

paragraph. To the extent that a response to the allegations in this paragraph is

required of Monarch, Monarch denies the allegations in this paragraph.

      58.    Denied. The allegations in this paragraph call for conclusions of law

and are denied as such. Monarch reserves all questions of law to the Court. To the

extent that the allegations in this paragraph suggest that Monarch violated 15

U.S.C. § 1692c(a)(2), Monarch denies these allegations as it was not aware that

Plaintiff was represented by an attorney with respect to her Synchrony Bank

PayPal MasterCard debt nor was Monarch able to readily ascertain the name or

address of Plaintiff’s alleged attorney during the time period when it attempted to

collect Plaintiff’s debt.   Monarch denies the remaining allegations in this

paragraph and leaves Plaintiff to her burden of proof.




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      59.    Denied. Monarch denies the allegations in this paragraph as it was

not aware that Plaintiff was represented by an attorney with respect to her

Synchrony Bank PayPal MasterCard debt during the time period when it attempted

to collect Plaintiff’s debt. Monarch further denies that at any time it was able to

readily ascertain the name or address of Plaintiff’s alleged attorney. Monarch

denies the remaining allegations in this paragraph and leaves Plaintiff to her

burden of proof.

      60.    Admitted in part and denied in part.         Monarch admits that it

communicated with Plaintiff via its August 29, 2022 letter regarding her

Synchrony Bank PayPal MasterCard debt. Monarch denies that it violated 15

U.S.C. § 1692c(a)(2) and denies that it communicated directly with Plaintiff in

connection with the collection of her debt. Monarch denies that it was aware that

Plaintiff was represented by an attorney with respect to her debt or that it was able

to readily ascertain the name or address of Plaintiff’s alleged attorney during the

time period when it attempted to collect Plaintiff’s debt. Monarch denies the

remaining allegations in this paragraph and leaves Plaintiff to her burden of proof.

      61.    Admitted in part and denied in part. Monarch admits that Plaintiff

requests that this Honorable Court enter judgment against it awarding Plaintiff

statutory and actual damages, costs and attorneys’ fees under 15 U.S.C. § 1692k

and other relief deemed appropriate by the Court. Monarch denies that Plaintiff is

entitled to a judgment against it, denies that Plaintiff is entitled to an award of



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statutory or actual damages, costs or attorneys’ fees under 15 U.S.C. § 1692k and

denies that Plaintiff is entitled to any other relief from this Honorable Court.

                                  Count 4
                     VIOLATION OF 15 U.S.C. § 1692e(8)
                          (against Defendant-DC)

      62.    Admitted in part and denied in part. Monarch admits that Plaintiff

merely incorporates by reference paragraphs 7 through 61 of her Complaint in this

paragraph. To the extent that a response to the allegations in this paragraph is

required of Monarch, Monarch denies the allegations in this paragraph.

      63.    Denied. The allegations in this paragraph call for conclusions of law

and are denied as such. Monarch reserves all questions of law to the Court. To the

extent that the allegations in this paragraph suggest that Monarch violated 15

U.S.C. § 1692e(8), Monarch denies these allegations as at no time did it

communicate to any person any information about Plaintiff or her Synchrony Bank

PayPal MasterCard account which it knew or should have known was false.

Monarch denies that at it was aware that Plaintiff disputed her debt during the

time period when it attempted to collect Plaintiff’s debt. Monarch denies the

remaining allegations in this paragraph and leaves Plaintiff to her burden of proof.

      64.    Denied. Monarch denies that it was aware that Plaintiff disputed her

Synchrony Bank PayPal MasterCard debt during the time period when it attempted

to collect Plaintiff’s debt and denies that at any time Synchrony Bank informed it

that Plaintiff disputed her debt. The letter referenced in this paragraph is a writing,



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the content of which speaks for itself, and any characterization of the content of

said letter is specifically denied by Monarch. Monarch denies the remaining

allegations in this paragraph and leaves Plaintiff to her burden of proof.

      65.    Admitted in part and denied in part. Monarch admits that its August

22, 2029 letter regarding Plaintiff’s Synchrony Bank PayPal MasterCard debt did

not disclose that Plaintiff disputed her debt as was Monarch was not aware that

Plaintiff disputed her debt during the time period when Monarch attempted to

collect her debt. Monarch is without sufficient knowledge, information or belief

regarding whether or not Plaintiff’s Synchrony Bank PayPal MasterCard debt was

a consumer debt and, therefore, Monarch denies this allegation. Monarch denies

that it violated 15 U.S.C. § 1692c(a)(2) or 15 U.S.C. § 1692e(8) during its attempts

to recover Plaintiff’s debt. Monarch denies the remaining allegations in this

paragraph and leaves Plaintiff to her burden of proof.

      66.    Admitted in part and denied in part. Monarch admits that Plaintiff

requests that this Honorable Court enter judgment against it awarding Plaintiff

statutory and actual damages, costs and attorneys’ fees under 15 U.S.C. § 1692k

and other relief deemed appropriate by the Court. Monarch denies that Plaintiff is

entitled to a judgment against it, denies that Plaintiff is entitled to an award of

statutory or actual damages, costs or attorneys’ fees under 15 U.S.C. § 1692k and

denies that Plaintiff is entitled to any other relief from this Honorable Court.




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                             AFFIRMATIVE DEFENSES

                       FIRST AFFIRMATIVE DEFENSE

      Plaintiff has failed to plead claims against Monarch upon which relief may

be granted.

                     SECOND AFFIRMATIVE DEFENSE

      Any violation of the law or damage suffered by Plaintiff, which Monarch

denies, was due to the affirmative actions and/or omissions of Plaintiff or others

and does not give rise to any liability of Monarch.

                      THIRD AFFIRMATIVE DEFENSE

      Any violation of the law or damage suffered by Plaintiff, which Monarch

denies, was due to the affirmative actions and/or omission of Plaintiff or others

and does not give rise to any claim of damages against Monarch.

                     FOURTH AFFIRMATIVE DEFENSE

      In the event that Plaintiff is adequately able to plead a violation of the

FDCPA, Plaintiff’s entitlement to statutory damages is capped at $1,000.00 per

action, not per violation.

                       FIFTH AFFIRMATIVE DEFENSE

      Monarch was not aware that Plaintiff was represented by an attorney

regarding her Synchrony Bank PayPal MasterCard debt nor was Monarch able to

ascertain the name or address of Plaintiff’s alleged attorney during the time period

when it attempted to collect Plaintiff’s debt. As such, Monarch did not violate 15



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U.S.C. § 1692c(a)(2) whereby Count 3 of Plaintiff’s Complaint should be dismissed

or withdrawn.

                      SIXTH AFFIRMATIVE DEFENSE

      Monarch did not communicate any information regarding Plaintiff or her

Synchrony Bank PayPal MasterCard debt which was known or should have been

known to be false as it was not aware that Plaintiff disputed her debt or that

Plaintiff was represented by an attorney in regard to her debt during the time

period when it attempted to collect Plaintiff’s debt. As such, Monarch did not

violate 15 U.S.C. § 1692e(8) whereby Count 4 of Plaintiff’s Complaint should be

dismissed or withdrawn.

                    SEVENTH AFFIRMATIVE DEFENSE

      Monarch did not have a duty to investigate the background of Plaintiff’s

Synchrony Bank PayPal MasterCard debt prior to engaging in its collection

activity. See Owens v. JP Morgan Chase Bank, 2020 U.S. Dist LEXIS 66883, * 24

(W.D. Pa. Apr. 16, 2020) citing Randolph v. IMBS, Inc., 368 F.3d 726, 729 (7th Cir.

2004) ("Courts do not impute to debt collectors other information that may be in

creditors' files—for example, that [the] debt has been paid or was bogus to start

with. This is why debt collectors send out notices informing debtors of their

entitlement to require verification and to contest claims."); Clark v. Capital Credit

& Collection Servs., 460 F.3d 1162, 1174 (9th Cir. 2006) ("the FDCPA does not

impose upon [the debt collector] any duty to investigate independently the claims



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presented by [the creditor]," and that "a debt collector may reasonably rely upon

information provided by a creditor who has provided accurate information in the

past."); Slanina v. United Recovery Sys., LP, 2011 U.S. Dist. LEXIS 121356

(E.D.P.A. Oct. 20, 2011) (Court granted the defendant debt collector’s motion to

dismiss for failure to state a claim upon which relief could be granted as the FDCPA

did not require the defendant to validate the debt prior to its initial contact with

plaintiff as such verification was only required after the consumer informed the

debt collector that the debt was disputed.)

                      EIGHTH AFFIRMATIVE DEFENSE

      Monarch reserves the right to recover its reasonable attorney’s fees and costs

from Plaintiff and her counsel pursuant to 15 U.S.C. 1692k(a)(3) as, although

Plaintiff’s counsel was informed on May 18, 2023 that Monarch did not have any

knowledge of the existence of the August 30, 2023 letter that was sent by the “Fair

Credit Law Group, LLC” to Synchrony Bank and that Monarch was not aware of

Plaintiff’s legal representation related to her Synchrony Bank PayPal MasterCard

debt during the time period when it attempted to collect her debt, Plaintiff and her

counsel have continued to litigate their baseless claims against Monarch.

      WHEREFORE,          Defendant,    Monarch      Recovery     Management,      Inc.

respectfully requests that this Answer be deemed good and sufficient, that

Plaintiff’s lawsuit be dismissed, with prejudice, at Plaintiff’s cost, that, pursuant to




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federal law, Plaintiff be ordered to pay costs, including reasonable attorneys’ fees,

to Monarch and for all other general relief.



                                        /s/ Amy L. Drushal
                                       Amy L. Drushal, Florida Bar No. 0546895
                                       adrushal@trenam.com / lbehr@trenam.com
                                       TRENAM, KEMKER, SCHARF, BARKIN,
                                        FRYE, O'NEILL & MULLIS, P.A.
                                       101 E. Kennedy Boulevard, Suite 2700
                                       Tampa, FL 33602
                                       (813) 223-7474
                                       Attorneys for Defendant, Monarch Recovery
                                       Management, Inc.


                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 10th day of July, 2023, I electronically filed

the foregoing with the Clerk of Court by using the CM/ECF system, which will send

a notice of electronic filing to all counsel of record.

                                                /s/ Amy L. Drushal
                                                            Attorney




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